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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

   ANNE WERTHEIM,

           Plaintiff,                                        Case No.: 1:24-cv-00608

   v.                                                        Judge Charles P. Kocoras
   THE PARTNERSHIPS AND UNINCORPORATED
                                                             Magistrate Judge M. David Weisman
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

           Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                  9                                        Yelu
                 16                                      Lpmadey
                 15                                      UTC US
                 13                                       EtaTech
                  4                             7-14 Days Delivery Zpervoba
                 18                                      NTETSN
                  6                                     Gfauzkorr


DATED: March 7, 2024                                 Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     33 W. Jackson Blvd., #2W
                                                     Chicago, Illinois 60604
                                                     Telephone:312-971-6752
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF
    Case: 1:24-cv-00608 Document #: 35 Filed: 03/07/24 Page 2 of 2 PageID #:566




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 7, 2024 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
